          Case 1:21-cr-00041-JL Document 221 Filed 10/27/22 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURTFOR
                          THE DISTRICT OF NEW HAMPSHIRE

 THE UNITED STATES OF AMERICA

                v.                                               No. 1:21-cr-41-JL-01

 ARIA DIMEZZO

                          ASSENTED-TO MOTION TO CONTINUE
                               SENTENCING HEARING

       The defense respectfully requests that the Court continue the sentencing hearing

scheduled for December 20, 2022, for at least 30 days.

       The defense seeks a continuance of the December 20th sentencing hearing to allow

adequate time for the defense to prepare for sentencing. Issues relating to Ms. DiMezzo’s status

as a transgender woman and trauma she has experienced, especially during childhood, have led

the defense to seek the assistance of an expert. To ensure enough time for the defense to make

use of the expert and prepare for sentencing, the defense seeks to continue the sentencing hearing

for at least 30 days. The Government, through Assistant United States Attorney Georgiana

MacDonald, assents to this motion.

       WHEREFORE the defense requests that the Court continue the sentencing hearing

scheduled for December 20, 2022, for at least 30 days.

Date: October 27, 2022.                                      Respectfully submitted by counsel
                                                             for Aria DiMezzo

                                                             /s/ Richard Guerriero
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                                               1
           Case 1:21-cr-00041-JL Document 221 Filed 10/27/22 Page 2 of 2




                                 CERTIFICATE OF SERVICE

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was signed by me.

       _                                                     /s/ Richard Guerriero
                                                             Richard Guerriero, Esq.




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